Case: 5:25-cr-00329-DCN Doc #:1 Filed: 07/08/25 1o0f1. PagelD #: 4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO Seite
EASTERN DIVISION

UNITED STATES OF AMERICA, ) INFORMATION
)
Plaintiff, . ts
Fh ants OROOS 2:
v. *)° CASE.NQ,
) Title 18, United States Code,
JILANI TASNEM AHAD, ) SectionZ0,
JUBGE N
Defendant. ) U G [E: N qT

MAG JUDGE ARMSTRONG
COUNT |
(Bribery, 18 U.S.C, § 201(b)(1)
The Acting United States Attorney charges:

From in or around September 2021 to in our around October 2023, in the Northern
District of Ohio and elsewhere, Defendant, JILANI TASNEM AHAD, directly and indirectly
did corruptly give, offer, and promise a thing of value to a public official, with intent to
influence an official act, that is AHAD did agree to give, offer, and promise cash payments
to J.R. on behalf of a company, in return for influencing the performance of official acts
while J.R. was employed at the United States Postal Service.

In violation of Title 18, United States Code, Section 201(b)(1).

CAROL M. SKUTNIK
Acting United States Attorney

wy: Wal 472.7 A.

DAVID M. TOEPFER, Z SHIEF
Akron/Youngstown ee

